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                                                                                     FILED

                                                                                      July 07, 2021
                                                                                CLERK, U.S. DISTRICT COURT
                                                                                WESTERN DISTRICT OF TEXAS
SEALED                                                                                       MG
                                                                            BY:
                                                                                                   DEPUTY


                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS SA-21-CR-00289-FB
                                    ANTONIO DIVISION
                                SAN ANTONIO

 UNITED STATES OF AMERICA,

                 Plaintiff,                         INDICTMENT

                                                    Counts 1-5: 18 U.S.C. § 1344:
                                                            Bank Fraud;
 JENNIFER BILES
                  Boschetti
   a/k/a Jennifer Boschetti                         Counts 6-8: 18 U.S.C.   1028A:
                                                             Aggravated Identiy Theft
                                                             Aggravated
                                                             Aggravated Identiy
                                                                          I     Theft
                              .

The Grand Jury charges:

                                         General Allegations

At all times material to this Indictment, unless otherwise specified:

                                  The Defendant and Related Entities

        1.      Defendant JENNIFER BILES, a/k/a Jennifer Boschetti, resided in Bandera and San

Antonio, Texas, both cities within the Western District of Texas.

        2.      Between in or about July of 2015 and in or about January of 2019, Defendant

JENNIFER BILES, a/k/a Jennifer Boschetti was employed at the law offices of S.S., a solo

practitioner who primarily worked in the Bandera, Texas area. Defendant JENNIFER BILES,

a/k/a Jennifer Boschetti was employed as an office manager and administrative assistant.

                                       The Scheme to Defraud

        3.      In the course of her employment, Defendant JENNIFER BILES, a/k/a Jennifer

Boschetti had access to the complainant’s firm operating account, interest bearing trust account,

credit cards, physical checks, and other financial instruments and information.         Defendant

JENNIFER BILES, a/k/a Jennifer Boschetti was never given signature authority on any of these

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accounts, and was never given permission to use any of the accounts at her discretion or without

the approval of S.S.

        4.        The firm’s operating account was held with a financial institution located within

the Western District of Texas insured by the Federal Deposit Insurance Corporation (the “Bank”).

        5.        Between July of 2015 and January of 2019, Defendant JENNIFER BILES, a/k/a

Jennifer Boschetti abused her access to the firm accounts in multiple ways to steal and convert the

funds belonging to the law firm and in the custody of the Bank to her own personal use. These

schemes included, but were not limited to:

             a.   Defendant JENNIFER BILES, a/k/a Jennifer Boschetti forged the signature of

                  complainant S.S. on multiple paychecks written to herself from the operating

                  account without his permission or authority.

             b.   Defendant JENNIFER BILES, a/k/a Jennifer Boschetti used the checking and

                  routing numbers of the firm’s operating account to make payments via Automated

                  Clearing House on her own personal credit cards.

             c.   Defendant JENNIFER BILES, a/k/a Jennifer Boschetti used the company credit

                  card to make payments for personal items and services at various online vendors

                  including Amazon, Uber, and Google.

             d.   Defendant JENNIFER BILES, a/k/a Jennifer Boschetti forged the signature of

                  complainant on an application for an advance loan on the settlement for one of the

                  firm’s clients.   $20,000 of the advance loan was sent directly from the lending

                  company to the firm’s client and $39,500 was transferred to the complainant’s firm

                  operating account, thereby incurring an unauthorized debt of approximately

                  $59,500 in the firm’s name. Defendant JENNIFER BILES, a/k/a Jennifer Boschetti




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                then distributed these funds without complainant’s knowledge or permission by

                forging complainant’s signature on checks drawn upon the operating account.

        6.      As part of, and in furtherance of, the above-described schemes, the Defendant

JENNIFER BILES, a/k/a Jennifer Boschetti knowingly and intentionally made multiple false

representations to obtain funds under the custody and control of the Bank, including forging the

signature of S.S. and authorizing wire transfer payments without permission or authority to do so.

        7.      As a result of Defendant JENNIFER BILES, a/k/a Jennifer Boschetti’s scheme,

complainant S.S. and his firm incurred a monetary loss of no less than $100,000.



                                      COUNTS O One NE - FIVE
                                           Bank Fraud
                                        (18 U.S.C. § 1344)

        8.      Paragraphs One through Seven of this Indictment are realleged and incorporated by

reference as though fully set forth herein.

        9.      Between on or about March of 2017 and on or about January of 2019, within the

                                Defendant,

                           JENNIFER BILES, a/k/a Jennifer Boschetti,

with the intent to defraud, did unlawfully, willfully, and knowingly devise and execute the abovedescribed scheme to d




and control of an insured financial institution by means of materially false or fraudulent pretenses,

specifically by forging the signature of S.S. on multiple checks drawn upon the Bank and made

payable to the Defendant JENNIFER BILES, a/k/a Jennifer Boschetti and another individual, and

initiating payments from an                           ac




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         Count               Date                                                     Type of transaction              Amount

     1                  04/03/2017                                           ACH payment from account ending         $2,671.88
                                                                             4126 to credit card ending 3936

     2                  9/5/2017                                             Check #1023 from account ending 4126    $1315.60

     3                  09/04/2018                                           Check #7088 from account ending 4126    $6,000.00

     4                  1/14/2019                                            ACH payment from account ending         $1,892.90
                                                                             4126 to credit card ending 3734

     5                  1/31/2019                                            Check #7187 from account ending 4126    $2,104.16




                                                            two IX - EIGHT
                                                     COUNTS S
                                         BankFraud
                                                      18:34A.F- -BANKFRAUD

         10.     Paragraphs One through Seven of this Indictment are re-alleged and incorporated

by reference as though fully set forth herein.

         11.     Between on or about September 2017 and on or about January of 2019, in the

                             Defendant,

                             Jennifer              JenniferBiles Boschetti,
                                      BILES, a/k/a Jennifer
                             JENNIFER Biles

individually, and by aiding and abetting others known to the Grand Jury did knowingly, without

lawful     authority,     and       in               violation                       of   Title    18,      United   States   Code,

Section 1028A(a)(1), used, or caused others acting for her, to use, one or more means of

identification of complainant S.S., namely, his name, signature, addresses,
                                                                  and bank  ac




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      Count              Date                Personal Identifying Information

      6                  9/5/2017            Name, signature, bank account checking and
                                             routing information

      7                  9/04/2018           Name, signature, bank account checking and
                                             routing information

      8                  1/31/2019           Name, signature, bank account checking and
                                             routing information




                                                  FOREPERSON OF THE GRAND JURY




ASHLEY C. HOFF
UNITED STATES ATTORNEY



            CN
BY:
          FOR JUSTIN CHUNG
          Assistant United States Attorney




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